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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VIVIAN A. CAULKINS                              :     CIVIL ACTION
                                                :
        v.                                      :
                                                :
ARA KIMBROUGH, Lieutenant and                   :
BUCKS COUNTY JAIL                               :     NO. 21-4154

                                              ORDER

        NOW, this 11th day of May, 2022, upon consideration of plaintiff’s Motion to

Proceed In Forma Pauperis (Doc. No. 1), her pro se Complaint (Doc. No. 2), and her

Motion to make Payment Arrangements for filing fees (Doc. No. 4), it is ORDERED that:

        1.      Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. §

1915.

        2.      The Complaint is DEEMED filed.

        3.      Caulkins’s claim against Bucks County Jail is DISMISSED WITH

PREJUDICE.

        4.      Caulkins’s destruction of personal property claim and official capacity claim

against defendant Ara Kimbrough are DISMISSED WITH PREJUDICE.

        5.      Caulkins’s conditions of confinement claim, retaliation claim, and deliberate

indifference claim against defendant Ara Kimbrough in his personal capacity are

DISMISSED WITHOUT PREJUDICE.

        6.      Plaintiff is granted leave to file an amended complaint if she does so within

thirty (30) days of the date of this Order.
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       7.      If plaintiff files an amended complaint, it shall: (a) identify all defendants

both in the caption of the amended complaint and in the body of the amended complaint;

and (b) state the basis for the plaintiff’s claims against each defendant.

       8.      The amended complaint shall be a complete document that does not rely

upon plaintiff’s claims in her initial Complaint nor any other papers filed in this case to

state a claim. When drafting an amended complaint, plaintiff shall consider the Court’s

reasons for dismissing the claims as explained in the Court’s Memorandum of this date.

       9.      The Clerk of Court shall provide plaintiff with a copy of the Court’s standard

form complaint to be used by a pro se litigant filing a civil action, bearing the above Civil

Action Number;

       10.     Plaintiff shall use this form to file her amended complaint; 1

       11.     Upon the filing of an amended complaint, the Clerk shall not make service

unless ordered to do so by the Court.

       12.     If Caulkins does not file an amended complaint, the Court will direct service

of her initial Complaint on defendant Ara Kimbrough only.

       13.     Caulkins may notify the Court that she seeks to proceed on this claim rather

than file an amended complaint. Any such notice shall include Civil Action No. 21-4154.

       14.     Caulkins’s motion to make payment arrangements is DENIED AS MOOT.



                                                       /s/ TIMOTHY J. SAVAGE J.




1This form is available on the Court’s website at http://www.paed.uscourts.gov/documents2/forms/forms-
pro-se.
